 1

 2                                           THE HONORABLE MARY JO HESTON
                                             TACOMA, WASHINGTON
 3
                                             CHAPTER 13
 4

 5
                      IN THE UNITED STATES BANKRUPTCY COURT FOR THE
 6                      WESTERN DISTRICT OF WASHINGTON AT TACOMA

 7   In Re:                                         )   CASE NO. 24-41481-MJH
                                                    )
 8   JENNIFER RUTH KAMP,                            )   PROOF OF SERVICE
                                                    )
 9                                                  )
                              Debtors.              )
10
                                                    )
11

12            I declare under penalty of perjury under the laws of the United States as follows

13   that on the 31st day of July, 2024, I mailed via regular mail a true and correct copy of the

14   Trustee’s Notice and Motion to Dismiss or Transfer Chapter 13 Case with Exhibits A, B
15   and C, to the following:
16
              All parties listed on the attached mailing matrix.
17

18   The following parties received Notice via ECF:

19            •Brett L. Wittner                     •Lance E. Olsen
              •David C. Smith                       •US Trustee
20

21            DATED this 31st day of July, 2024.
22

23
                                                            /s/ Tracy Maher
24                                                          TRACY MAHER

25                                                                                      Michael G. Malaier
                                                                                         Chapter 13 Trustee
                                                                                   5219 N. Shirley, Ste. 101
                                                                                        Ruston, WA 98407
                                                                                            (253) 572-6600
     Proof of Service - 1


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